Case 2:04-cr-20134-.]PI\/| Document 57 Filed 06/08/05 Page 1 of 2 Page|D 93

FHED B?

 
 

lN THE UNlTED STATES DISTRICT coURT
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUN -

 

UN:TED sTATss oF AMERICA
Plaintiff,

Vs Ca1 No. 04-20134-M1

JOHN KNoX

)
)
)
)
)
)
)
)
)
)
Defendant(s) )
)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Change of Plea Hearing on Thursday, June 9,
2005 at 10 00 a.m. Counsel for the defendant requested a continuance of
the present setting. The continuance is necessary to allow for
additional preparation in the case.

The Court granted the request and continued the matter for a Change
of Plea Hearing to Wednesday, July 6, 2005 with a trial date of Monday,
Monday, July ll, 2005 at 9:30 a.m.

The period from June 17, 2005 through July l5, 2005 is excludable
under 18 U.S.C. § BlGl{h)(B){B)(iv) to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the §§ day Of Jun€, 2005.

f\» @ mw

JON HIPPS MCCALLA
f UNI ED STATES DISTRICT JUDGE

Tmsdocumentenwredonthedockets eminenn§§mn e
With Hule 55 and/cr 32{b) FRCrP on f§ * 9 -' §

 

PH h= l5

osser "»;. 131 "€souo
%z.r»:sz<i 1_').3. sss c'r.
W.D. cs m assess

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20134 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

